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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

   INVENSAS CORPORATION,

            Plaintiff,

   v.                                                               No. 2:17-cv-00670-RWS-RSP

   SAMSUNG ELECTRONICS CO., LTD., and
   SAMSUNG ELECTRONICS AMERICA,
   INC.,

            Defendants.


                           THIRD AMENDED DOCKET CONTROL ORDER

         Current Date           New Date        Event
                           (If Different From
                             Current Date)
    February 19, 2019                           *Jury Selection – 9:00 a.m. in Marshall, Texas
                                                before Judge Robert Schroeder
        January 28, 2019                        *Pretrial Conference – 9:00 a.m. in Marshall,
                                                Texas before Judge Roy Payne
        January 17, 2019                        *Notify Court of Agreements Reached During
                                                Meet and Confer

                                                The parties are ordered to meet and confer on any
                                                outstanding objections or motions in limine. The
                                                parties shall advise the Court of any agreements
                                                reached no later than 1:00 p.m. three (3) business
                                                days before the pretrial conference.

        January 15, 2019                        *File Joint Pretrial Order, Joint Proposed Jury
                                                Instructions, Joint Proposed Verdict Form,
                                                Responses to Motions in Limine, Updated Exhibit
                                                Lists, Updated Witness Lists, and Updated
                                                Deposition Designations




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      Current Date           New Date        Event
                        (If Different From
                          Current Date)
     January 8, 2019                         *File Notice of Request for Daily Transcript or
                                             Real Time Reporting.

                                             If a daily transcript or real time reporting of court
                                             proceedings is requested for trial, the party or
                                             parties making said request shall file a notice with
                                             the Court and e-mail the Court
                                             Reporter, Shelly Holmes, at
                                             shelly_holmes@txed.uscourts.gov.

     January 4, 2019                         File Motions in Limine

                                             The parties shall limit their motions in limine to
                                             issues that if improperly introduced at trial would
                                             be so prejudicial that the Court could not alleviate
                                             the prejudice by giving appropriate instructions to
                                             the jury.

     January 4, 2019                         Serve Objections to Rebuttal Pretrial Disclosures

    December 18, 2018                        Serve Objections to Pretrial Disclosures; and
                                             Serve Rebuttal Pretrial Disclosures

    December 11, 2018                        Serve Pretrial Disclosures (Witness List,
                                             Deposition Designations, and Exhibit List) by the
                                             Party with the Burden of Proof

    November 19, 2018                        *File Motions to Strike Expert Testimony
                                             (including Daubert Motions)

                                             No motion to strike expert testimony (including a
                                             Daubert motion) may be filed after this date
                                             without leave of the Court.




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      Current Date            New Date         Event
                         (If Different From
                           Current Date)
    November 19, 2018                          *File Dispositive Motions

                                               No dispositive motion may be filed after this date
                                               without leave of the Court.

                                               Motions shall comply with Local Rule CV-56 and
                                               Local Rule CV-7. Motions to extend page limits
                                               will only be granted in exceptional circumstances.
                                               Exceptional circumstances require more than
                                               agreement among the parties.

    November 12, 2018                          Deadline to Complete Expert Discovery

     October 26, 2018                          Serve Disclosures for Rebuttal Expert Witnesses

    September 28, 2018                         Serve Disclosures for Expert Witnesses by the
                                               Party with the Burden of Proof

    September 18, 2018                         Deadline to Complete Fact Discovery and File
                                               Motions to Compel Discovery

     September 6, 2018     October 24, 2018    Deadline to Complete Mediation

                                               The parties are responsible for ensuring that a
                                               mediation report is filed no later than 5 days after
                                               the conclusion of mediation.

  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
  shown merely by indicating that the parties agree that the deadline should be changed.




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                                    ADDITIONAL REQUIREMENTS

     Motions for Continuance: The following excuses will not warrant a continuance nor justify a
     failure to comply with the discovery deadline:

     (a)    The fact that there are motions for summary judgment or motions to dismiss pending;
 .
     (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
            unless the other setting was made prior to the date of this order or was made as a special
            provision for the parties in the other case;

     (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
            was impossible to complete discovery despite their good faith effort to do so.

     Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on the DCO
     shall take the form of a motion to amend the DCO. The motion to amend the DCO shall include a
     proposed order that lists all of the remaining dates in one column (as above) and the proposed
     changes to each date in an additional adjacent column (if there is no change for a date the proposed
     date column should remain blank or indicate that it is unchanged). In other words, the DCO in the
     proposed order should be complete such that one can clearly see all the remaining deadlines and
     the changes, if any, to those deadlines, rather than needing to also refer to an earlier version of the
     DCO.
             SIGNED this 3rd day of January, 2012.
           SIGNED this 7th day of September, 2018.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE




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